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                                                                        'FILED
                  IN THE UNITED STATES DISTRICT COURT             U.s OlSTRiCTCOURf
                                                                      SAVANNAH OIV.
                FOR THE SOUTHERN DISTRICT OF GEORGIA             2018 JliN 18 PN 2*29
                            SAVANNAH DIVISION                  CLEW


THE UNITED STATES OF AMERICA,

               Plaintiff,

                  V.                         4:17CR263


FREDRICK BROWN,

               Defendant,




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by
agreement. Therefore, a hearing in this case is deemed unnecessary.


     SO ORDERED, this          day of June, 2018




                               UNITED STATES MAGISTRATE JUDGE
                               SOUTHERN DISTRICT OF GEORGIA
